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 1                                                                 Chief Judge Ricardo S. Martinez
 2

 3

 4

 5
                                   UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6                                     SEATTLE, WASHINGTON
 7
     UNITED STATES OF AMERICA,                        ) Case No.: CR20-134RSM
 8                                                    )
                     Plaintiff,                       )
 9                                                    ) ORDER CONTINUING TRIAL DATE
            vs.                                       ) AND DEADLINE TO FILE
10                                                    ) PRETRIAL MOTIONS
     MATTHEW RUHMANN SLATER,                          )
11                                                    )
                     Defendant.                       )
12                                                    )
                                                      )
13                                                    )
14
            This matter comes before the Court on the Agreed Motion to Continue Trial Date
15

16   and Pretrial Motions Deadline filed by the defendant, MATTHEW SLATER (Dkt #19). Mr.

17   Slater has also filed a speedy trial waiver through April 15, 2021 (Dkt. #20) in order to
18
     accommodate the proposed new trial date of March 29, 2021.
19
            Based upon the information presented in the Agreed Motion to Continue the Trial
20
     Date and Pretrial Motions Deadline, the Court hereby finds as follows:
21

22          1.       Failure to grant a continuance in this case will deny counsel the reasonable

23   time necessary for effective preparation of trial and other pretrial proceedings, taking into
24
     account the exercise of due diligence.
25
            2.       Failure to grant a continuance would likely result in a miscarriage of justice.
26

27
            3.       The ends of justice served by granting this continuance outweigh the best

28   interest of the public and the defendant in a speedy trial.


     ORDER CONTINUING TRIAL DATE/PRETRIAL                   LAW OFFICE OF JENNIFER HORWITZ, PLLC
     MOTIONS DEADLINE- 1                                                P.O. BOX 70859
                                                                       Seattle, WA 98127
                                                                         (206) 799-2797
                 Case 2:20-cr-00134-RSM Document 21 Filed 11/09/20 Page 2 of 2



 1          4.       All of these findings are made within the meaning of 18 U.S.C. §
 2
     3161(h)(7)(A) and (B)(i), (ii) and (iv).
 3
            NOW, THEREFORE IT IS HEREBY ORDERED:
 4

 5
            1.       The trial date in this matter is continued to March 29, 2021.

 6          2.       Pretrial motions are due no later than February 18, 2021.
 7
            3.       The period of time from the filing date of the Agreed Motion to Continue
 8
     Trial Date and Pretrial Motions Deadline until April 15, 2021 shall be excludable time
 9
     pursuant to the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A).
10

11                   SO ORDERED THIS 9th day of November, 2020.

12

13

14
                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT JUDGE
15

16
     Presented By:
17
     s/ Jennifer Horwitz
18   Counsel for Matthew Ruhmann Slater
19
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     Agreed to By:
23
     _s/ Thomas Woods (by email November 9, 2020)
24   Thomas Woods
25
     Assistant United States Attorney
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26   Seattle, WA 98101-1270
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28



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